 

FILED
CHARLOTTE, NC

IN THE UNITED STATES DISTRICT COURT oct 2
FOR THE WESTERN DISTRICT OF NORTH CAROLINA 1 2020
CHARLOTTE DIVISION us DISTRICT couRT

WESTERN DISTRICT OF NC
DOCKET NO.: 3:19cr64-MOC

UNITED STATES OF AMERICA )
)
v. ) CONSENT ORDER AND
) JUDGMENT OF FORFEITURE
ALEXZANDRA M, POWELL ) PENDING RULE 32.2(c)(2)

BASED UPON the Defendant’s plea of guilty and finding that there is a nexus between
the property listed below and the offense(s) to which the Defendant has pled guilty and that the
Defendant (or any combination of Defendants in this case) has or had a possessory interest or other
legal interest in the property, IT IS HEREBY ORDERED THAT:

1, The following property is forfeited to the United States pursuant to 18 U.S.C. §§
981 and 982, and/or 28 U.S.C. § 2461(c), provided, however, that forfeiture of specific assets is
subject to any and all third party petitions under 21 U.S.C. § 853(n), pending final adjudication
herein:

A forfeiture money judgment in the amount of $19,904.95, such amount constituting
the proceeds that Defendant personally obtained as a result of the offense/s to which
Defendant has pled guilty. Defendant stipulates that the Government may satisfy
the money judgment via forfeiture of proceeds and/or substitute property as defined
in 21 U.S.C. § 853(p). For purposes of forfeiture under Section 853(p), Defendant
stipulates that, as a result of acts or omissions of Defendant, one or more provisions
of Section 853(p)(1)(A)-(E) are satisfied.

2. If and to the extent required by Fed. R. Crim. P. 32.2(b)(6), 21 U.S.C. § 853(n),
and/or other applicable law, the United States shall publish notice and provide direct written notice
of forfeiture.

3. Pursuant to Fed. R. Crim. P. 32.2(b)(3), upon entry of this order, the United States
Attorney’s Office is authorized to conduct any discovery needed to identify, locate, or dispose of
the property, including depositions, interrogatories, and requests for production of documents,
and to issue subpoenas pursuant to Fed. R. Civ. P. 45.

4, A forfeiture money judgment shall be included in the defendant’s sentence, and
the United States may take steps to collect the judgment from any property of the defendant,

Case 3:19-cr-00064-MOC-DSC Document 33 Filed 10/21/20 Page 1 of 2

 
provided, the value of any forfeited specific assets shall be credited toward satisfaction of this
money judgment upon liquidation.

The parties stipulate and agree that the aforementioned asset(s) constitute property
derived from or traceable to proceeds of defendant’s crime(s) herein and are therefore subject to
forfeiture pursuant to 18 U.S.C. §§ 981 and 982, and/or 28 U.S.C. § 2461(c). The defendant
hereby waives the requirements of Fed. R. Crim. P. 32.2 and 43(a) regarding notice of the
forfeiture in the charging instrument, announcement of the forfeiture at sentencing, and
incorporation of the forfeiture in the judgment against defendant. If the defendant has previously
submitted a claim in response to an administrative forfeiture proceeding regarding any of this
property, defendant hereby withdraws that claim. If defendant has not previously submitted such
a claim, defendant hereby waives all right to do so.

R. ANDREW MURRAY
UNITED STATES ATTORNEY

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Assistant United States Attorney Defendant

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JE DAVIS, ESQ.

Attorney for Defendant

 

 

 

 
  
 

   

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Case 3:19-cr-00064-MOC-DSC Document 33 Filed 10/21/20 Page 2 of 2

 
